                                         Case
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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        UNITED STATES OF AMERICA,
                                   7                                                         Case No. 15-cr-00319-RS-1
                                                       Plaintiff,
                                   8
                                                v.                                           ORDER DENYING MOTION TO
                                   9                                                         APPOINT COUNSEL
                                        BRIDGES,
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Shaun Bridges has a pending 28 U.S.C. § 2255 petition to vacate his sentence. He now

                                  14   seeks appointment of counsel. There is no right to counsel in habeas corpus actions. See

                                  15   Knaubert v. Goldsmith, 791 F.2d 722, 728 (9th Cir. 1986). A district court is authorized under 18

                                  16   U.S.C. § 3006A(a)(2)(B) to appoint counsel to represent a habeas petitioner whenever it

                                  17   “determines that the interests of justice so require” and that the petitioner is financially unable to

                                  18   obtain representation. The decision to appoint counsel is within the discretion of the district court,

                                  19   see Chaney v. Lewis, 801 F.2d 1191, 1196 (9th Cir. 1986), and should be granted only when

                                  20   exceptional circumstances are present, see generally 1 J. Liebman & R. Hertz, Federal Habeas

                                  21   Corpus Practice and Procedure § 12.3b at 383-86 (2d ed. 1994). Because petitioner has not

                                  22   shown exceptional circumstances warranting the appointment of counsel, the motion is denied.

                                  23

                                  24   IT IS SO ORDERED.

                                  25

                                  26   Dated: December 18, 2017

                                  27                                                     ______________________________________
                                                                                         RICHARD SEEBORG
                                  28                                                     United States District Judge
